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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION
  UNITED STATES OF AMERICA

  v.                                                    Case No. 8:03-cr-77-T-30TBM

  SAMI AMIN AL-ARIAN, et al.
  ____________________________________

                                             ORDER

         This cause came on for consideration upon Defendant Ballut’s Motion in Limine to

  Exclude Hearsay Statements by Suliman Odeh (Dkt. #1146) and the Government’s response

  thereto (Dkt. #1151). Defendant Ballut argues that the Government should be prohibited

  from introducing into evidence a statement made by alleged co-conspirator Suliman Odeh

  introducing Defendant Ballut as the “Islamic Committee of Palestine representative in the

  city of Chicago” to a large audience of conference attendees. According to Defendant Ballut,

  this statement is inadmissible hearsay. The Government contends that the statements are

  admissible under two hearsay exceptions: adoptive admissions and co-conspirator statements.

         This Court addressed Defendant’s Motion on June 6, 2005, prior to the start of

  opening statements. After the parties presented their respective arguments, this Court orally

  denied Defendant Ballut’s Motion and permitted the Government to make reference to Mr.

  Odeh’s statements during its opening statement. This Order outlines the Court’s reasoning

  for denying the Motion.

         Hearsay is defined in Fed. R. Evid. 801(c) as an out of court statement offered into

  evidence to prove the truth of the matter asserted, and is generally inadmissible at trial. Fed.
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  R. Evid. 802. There are several exceptions to this general rule set forth in Fed. R. Evid.

  801(d).   Included among these exceptions are statements that have been adopted by a

  defendant and statements made by a co-conspirator “during the course of and in furtherance

  of the conspiracy.” Fed. R. Evid. 801(d)(2)(B) & (E).

        Undoubtedly, Mr. Odeh’s statement is being offered by the Government to prove that

  Defendant Ballut was a member of the ICP. This statement does not constitute inadmissible

  hearsay, however, because Defendant Ballut manifested an adoption of Mr. Odeh’s statement

  through his own words. After Mr. Odeh’s introduction of Defendant Ballut as the Chicago

  Representative for the Islamic Committee of Palestine, Defendant Ballut welcomed the

  conference attendees “on behalf of the Islamic Committee of Palestine in Chicago.”

  Defendant Ballut affirmed Mr. Odeh’s introductory statement a second time when he

  concluded his remarks to the audience by offering thanks to various individuals “on behalf

  of the Islamic Committee of Palestine in Chicago.” These remarks constitute an adoption of

  Mr. Odeh’s statement.

        Additionally, because the Government proffered evidence that both Mr. Odeh and

  Defendant Ballut were members of the same conspiracy by the time of the conference, Mr.

  Odeh’s statements are also admissible under the co-conspirator hearsay exception.

  Defendant Ballut’s argument that these statements were not made “during the course of and

  in furtherance of the conspiracy” is belied by the Government’s allegations that the

  conspirators raised money at this conference to further the conspiracy’s objectives.

  Accordingly, Mr. Odeh’s statement does not constitute inadmissible hearsay, and the

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  Government should not be precluded from referring to it during its opening remarks to the

  jury or introducing it into evidence at trial.

           It is therefore ORDERED and ADJUDGED that Defendant Ballut’s Motion in Limine

  to Exclude Hearsay Statements by Suliman Odeh (Dkt. #1146) is DENIED.

           DONE and ORDERED in Tampa, Florida on June 14, 2005.




  Copies furnished to:
  Counsel/Parties of Record
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